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           May 31, 2019




           VIA ECF

           The Honorable Denise L. Cote
           United States District Judge
           Southern District of New York
           Daniel Patrick Moynihan United States Courthouse
           500 Pearl Street
           New York, New York 10007

            Downtown Music Publishing, LLC, et al. v. Peloton Interactive, Inc., No. 19-CV-2426

           Dear Judge Cote:

                           We represent the music publisher Plaintiffs and Counterclaim Defendant
           National Music Publishers’ Association in the above-captioned matter. On behalf of
           these parties and with Defendant and Counterclaim Plaintiff Peloton Interactive, Inc.’s
           consent, I write, pursuant to the May 9, 2019 Pretrial Scheduling Order (ECF No. 44), to
           inform the Court that the parties’ preferred forum for a mediation that will occur no later
           than September 2019 is a party-selected, private mediator.
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P A l ' L , W I . I S S , R I I K I K I ) , V X ' I t A i r i O N & i)ARRl^(.)\    IIP
           Judge Denise L. Cote


                                 We would be happy to provide any additional information the Court might
           require.



                                                                    Respectfully submitted,




           cc:        All Counsel
